                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

In re:

KATHRYN RAMONA ESQUIBEL,                                                Case No. 17-10498-j7
                                                                        Chapter 7
      Debtor,
________________________________________________________________________

DAVID A. KELLY,

         Objector
vs.

MARTIN LOPEZ III

         Creditor Claimant.


  KELLY’S NOTICE THAT AUTHENICATION IS REQUIRED OF LOPEZ EXHIBIT

                                       NUMBERS 3, 8, 9, & 10

         Comes now David Kelly, Objector pro se, and gives notice that he will require

authentication of Lopez Exhibits Nos. 3, 8, 9, & 10 at trial.

         Kelly has objections to Exhibits # 10, 11, &12.

         Kelly stipulates to the admissibility of Exhibits 1, 2, 4, 5, 6, 7, & 13



Date: March 22, 2019

Respectfully submitted,



/S/__________________________
David Kelly, Pro se
Intervenor/Objector
P.O. Box 414
Santa Rosa, N.M. 88435
575-219-5068

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